
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-09-261-CR



FREDERICK DEVANTENOS FRANKLIN	APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM CRIMINAL DISTRICT COURT NO. 2 OF 
TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant’s Motion To Withdraw The Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. &nbsp;
Tex. R. App. P.
 
42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. &nbsp;
See 
Tex. R. App. P.
 
42.2(a), 43.2(f). 																										PER CURIAM



PANEL: &nbsp;
WALKER
, MCCOY
, and MEIER
, JJ.



DO NOT PUBLISH

Tex. R. App. P.
 
47.2(b)



DELIVERED: February 4, 2010
	

FOOTNOTES
1:See
 
Tex. R. App. P.
 
47.4.




